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  disclosure
Case         is not otherwiseDocument
     1:17-cv-02374-HG-ST      permitted116
                                        under this
                                           Filed   Protective
                                                 09/15/21     Order.
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           14.    DISPOSITIVE MOTION HEARINGS AND TRIAL.

                  The terms of this Protective Order shall govern in all circumstances

  except for presentations of evidence and argument at hearings on dispositive

  motions and at trial. The Parties shall meet and confer in advance of such

  proceedings and seek the guidance of the Court as to appropriate procedures to

  govern such proceedings.


            15.   MISCELLANEOUS.

                  15.1    Right to Further Relief. Nothing in this Order abridges the

  right of any person to seek its modification or clarification by the Court in the

  future.


                  15.2    Right   to   Assert   Other   Objections. By stipulating to the

  entry of this Protective Order no Party waives any right it otherwise would have to

  object to disclosing     or producing   any   information   or item on any ground      not

  adchessed in this Stipulated Protective Order. Similarly, no Party waives any right to

  object on any ground to use in evidence of any of the material covered by this Protective

  Order.

                  15.3 Execution. This Stipulation and Orde1· may be executed by the parties

  in counterparts. Facsimile or PDF copies will be deemed and accepted as original in all

  proceedings and no objection shall be raised regarding same.



    Dated: August 13, 2021
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GARY TSIRELMAN, P.C.                           METCALF & METCALF, P.C.



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                                                Wingfield Capital Corp.

LAW OFFICE OFDANIEL L. BIBB, LLC




SO ORDERED:



U.S.M.J.
